             Case 8-11-77856-ast               Doc 22-1        Filed 02/14/12          Entered 02/14/12 08:35:00


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smg         NYS Unemployment Insurance             Attn: Isolvency Unit         Bldg. #12, Room 256         Albany, NY 12240
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            Cohn        Brooklyn, NY 11201
smg         United States Trustee       Office of the United States Trustee         Long Island Federal Courthouse         560
            Federal Plaza       Central Islip, NY 11722−4437
7473484     AmeriCredit Financial Services, Inc.         P O Box 183853          Arlington, TX 76096
7445274     American Express         P.O. Box 105278           Atlanta, GA 30348−5278
7445285     Americredit       c/o NCO Financial Systems Inc.            Dept. P.O. Box 15630        Dept. 02        Wilmington, DE
            19850
7445284     Americredit       c/o NCO Financial Systems Inc.            P.O. Box 15372        Wilmington, DE 19850−5372
7445271     Americredit Financial Services        P.O. Box 183593           Arlington, TX 76096−3593
7445268     BPC Management Corp.            80 Livingston Street         Brooklyn, NY 11201
7445318     Bill Me Later       P.O. Box 105658           Atlanta, GA 30348
7445287     Cablevision       c/o NCO Financial Systems Inc.            Dept. P.O. Box 15630        Dept. 99        Wilmington, DE
            19850
7445286     Cablevision       c/o NCO Financial Systems Inc.            P.O. Box 15740        Wilmington, DE 19850−5740
7445300     Cablevision of Western Nassau          c/o CBHV          P.O. Box 3495         Toledo, OH 43607
7445299     Cablevision of Western Nassau          c/o CBHV          P.O. Box 831         Newburgh, NY 12551−0831
7445290     Capital One       P.O. Box 71083           Charlotte, NC 28272−1083
7445308     Chase Cardmember Service           P.O. Box 15153           Wilmington, DE 19886−5153
7445309     Chase Cardmember Service           P.O. Box 15298           Wilmington, DE 19850−5298
7445310     Chase Customer Service          P.O. Box 15299          Wilmington, DE 19850−5299
7445283     Citibank (South Dakota) N.A.         c/o Rubin &Rothman, LLC             1787 Veterans Highway          Islandia, NY
            11749
7445258     City of New York         Environmental Control Board           66 John Street       New York, NY 10038
7445259     City of New York         Parking Violations Bureau          66 John Street       New York, NY 10038
7445280     DFS Services, LLC         c/o Zwicker &Associates P.C.           80 Minuteman Road           Andover, MA
            01810−1008
7445281     DFS Services, LLC         c/o Zwicker &Associates P.C.           P.O. Box 101145         Birmingham, AL
            35210−6145
7445305     Discover       P.O. Box 71084           Charlotte, NC 28272−1084
7445307     Discover Card        P.O. Box 30421           Salt Lake City, UT 84130−0421
7445306     Discover Card        P.O. Box 30943           Salt Lake City, UT 84130
7445311     GE Money Bank           P.O. Box 960061           Orlando, FL 32896−0061
7445312     GE Money Bank           P.O. Box 981127           El Paso, TX 79998−1127
7445313     GE Money Bank           P.O. Box 981438           El Paso, TX 79998−1438
7445282     GEMB/PC Richard           c/o Asset Acceptance LLC            P.O. Box 2036        Warren, MI 48090−2036
7445317     Gilman Management Corporation             55 Watermill Lane         Great Neck, NY 11021
7445316     Greenpoint Mortgage Funding, Inc.          c/o Stagg Terenzi Confusione &Wabnik, L            401 Franklin Avenue,
            Suite 300       Garden City, NY 11530
7445297     HSBC Bank          c/o Cohen &Slamowitz, LLP             P.O. Box 9004         Woodbury, NY 11797−9004
7445296     HSBC Bank          c/o James A. West, P.C.          6380 Rogerdale Road, Suite 130         Houston, TX
            77072−1624
7445298     HSBC Bank Nevada, N.A.            c/o Cohen &Slamowitz, LLP            P.O. Box 9001         Woodbury, NY
            11797−9001
7445314     HSBC Bank Nevada, N.A.            c/o NYC Marshal Ronald Moses             116 John Street, 15th Floor       New York,
            New York 10038
7445291     Home Depot Credit Services          P.O. Box 183175           Columbus, OH 43218−3175
7445289     Home Depot Credit Services          P.O. Box 689100           Des Moines, IA 50368−9100
7445288     Home Depot Credit Services          Processing Center         Des Moines, IA 50364−0500
7445256     JP Morgan Chase Bank, N.A.           P.O Box 659754           San Antonio, TX 78265−9754
7490092     LEOPOLD &ASSOCIATES, PLLC                   Attorneys for U.S. Bank National Associa          80 Business Park Drive,
            Suite 301       Armonk, New York 10504              (914)219−5787
7445301     NYC Department of Finance           59 Maiden Lane, 19th Floor          New York, NY 10038−4502
7445302     NYC Department of Finance           P.O. Box 2301          New York, NY 10272−2301
7445315     Nassau County Sheriff        240 Old Country Road            Mineola, NY 11501
7445295     National Grid       P.O. Box 020760           Brooklyn, NY 11202−9964
7445266     National Grid       c/o Penn Credit         916 South 14th Street         P.O. Box 988        Harrisburg, PA
            17108−0988
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7445267   National Grid        c/o Penn Credit        P.O. Box 1259, Dept. 91047         Oaks, PA 19456
7445275   National Grid NY         c/o RUI Credit Services         P.O. Box 1349         Melville, NY 11747−0422
7445292   Nissan Motor Acceptance Corp.           c/o Vital Recovery Services, Inc.       P.O. Box 923747         Norcross, GA
          30010−3747
7445293   Nissan Motor Acceptance Corp.           c/o Vital Recovery Services, Inc.       P.O. Box 923748         Norcross, GA
          30010−3748
7445272   Nissan−Infiniti LT        P.O. Box 660366          Dallas, TX 75266−0366
7445263   Ocwen Loan Servicing, LLC           P.O. Box 24665          West Palm Beach, FL 33416−4665
7445262   Ocwen Loan Servicing, LLC           P.O. Box 24738          West Palm Beach, FL 33416−4738
7445261   Ocwen Loan Servicing, LLC           P.O. Box 6440          Carol Stream, IL 60197−6440
7445265   Ocwen Loan Servicing, LLC           P.O. Box 6501          Springfield, OH 45501
7445264   Ocwen Loan Servicing, LLC           P.O. Box 6723          Springfield, OH 45501−6723
7445303   R.G. Mortgage Corporation          280 J.T. Pinero Ave. Hato Rey PR 00918           P.O. Box 36394 San Juan, PR
          00936−2394
7445304   R.G. Mortgage Corporation          P.O. Box 36394          280 Jesus T. Pinero Avenue        San Juan, PR 00936
7445273   Radian Guaranty Inc.         1601 Market Street         Philadelphia, PA 19103−2337
7445257   STS Properties 1, LLC         c/o Law Offices of David W. Graber           55 Watermill Lane, Suite 100       Great
          Neck, NY 11021
7445270   Stephen David Cohn, Esq.          16 Court Street        Brooklyn, NY 11241
7445269   Stephen R. Chesley, Esq.         16 Court Street, Suite 2501        Brooklyn, NY 11241
7445277   T−Mobile         c/o Pinnacle Financial Group          7825 Washington Avenue S., Suite 310         Minneapolis, MN
          55439−2409
7445278   T−Mobile         c/o Pinnacle Financial Group          Dept. 683        P.O. Box 4115       Concord, CA 94524
7445294   TD Bank N.A.          c/o Associated Credit Services Inc.        105B South Street        P.O. Box
          9100       Hopkinton, MA 07148−9100
7445260   U.S. Bank National Association as Trustee          c/o Rosicki, Rosicki &Associates, P.C.       51 East Bethpage
          Road       Plainview, NY 11803
7445276   Verizon        c/o CBCS         P.O. Box 163250          Columbus, OH 43216−3250
7445279   Verizon New York Inc.          c/o Afni Inc.       404 Brock Drive         P.O. Box 3427        Bloomington, IL
          61702−3427
                                                                                                                    TOTAL: 71
